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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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UNITED STATES OF AMERICA         :
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                                 :
v.                               :        No. 3:16-cr-220(AWT)
                                 :
                                 :
DAVID DEMOS                      :
                                 :
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     RULING ON GOVERNMENT’S MOTION IN LIMINE (DOC. NO. 291)
          (Conditionally Allowing Proffer Statements)

     For the reasons set forth below, the Government’s Motion in

Limine to Admit Defendant’s Proffer Statements (Doc. No. 291) is

hereby DENIED, without prejudice.

     The government seeks “an order conditionally allowing

introduction of certain statements made by the defendant David

Demos during his proffers with either the Government or the

Securities and Exchange Commission.”       Government’s Motion in

Limine to Admit Defendant’s Proffer Statements (“Gov.’s Motion”)

(Doc. No. 291) at 1.    The defendant participated in a proffer

session with the Securities and Exchange Commission (“SEC”) on

August 8, 2014, and proffer sessions with the government on

January 28, 2016 and March 9, 2016.

     The government seeks an order conditionally admitting the

defendant’s proffer statements because it “expects Demos to

contest materiality and intent at trial.”        Id. at 2.    The

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government highlights the portion of the typed notes of the

August 8, 2014 SEC interview, attributing to the defendant the

statement: “I knew it was wrong.       In hindsight, I know why we

are here.”   Government’s Reply in Support of its Motion in

Limine to Admit Defendant’s Proffer Statements (“Gov.’s Reply”)

(Doc. No. 298) at 1; see also id. at Ex. A.       The government

states that the defendant made similar statements to the

government on January 28, 2016.     The government asserts: “[f]or

instance, Demos’s admissions that he knew it was wrong to lie to

customers about price and that he did so to make trades more

profitable are inconsistent with an argument that Demos lacked

criminal intent . . . .    Similarly, the latter of these

admissions -- that Demos lied to increase the profitability of

his trades -- is inconsistent with an argument that Demos’s lies

were immaterial . . . .”    Gov.’s Motion at 4-5.

    As an initial matter, the court notes that the August 7,

2014 proffer agreement with the SEC and the January 28, 2016

proffer agreement with the government are enforceable in

accordance with their terms.     See United States v. Velez, 354

F.3d 190, 193-97 (2d Cir. 2004); United States v. Gomez, 210 F.

Supp. 2d 465, 472-76 (S.D.N.Y. 2002).       The proffer agreement

with the SEC provides that the information provided by the

defendant could be used “against you, to rebut your testimony,

evidence offered, or arguments or assertions made by you or on

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your behalf.”   Gov.’s Motion at Ex. A.     The proffer agreement

with the government provides that “[t]he Government may and will

use statements made by your client at this meeting to rebut any

evidence or arguments offered by or on behalf of your client.”

Id. at Ex. B.

    Thus, the scope of the waiver by the defendant is

materially different from the scope of the waiver at issue in

United States v. Barrow, 400 F.3d 109, 113 (2d Cir. 2005)

(proffer statements could be used “as substantive evidence to

rebut any evidence offered or elicited, or factual assertions

made”), and the scope of the waiver at issue in United States v.

Rosemond, 841 F.3d 95, 103 (2d Cir. 2016) (proffer statements

could be used “as substantive evidence to rebut, directly or

indirectly, any evidence offered or elicited, or factual

statements made, by or on behalf of [Rosemond]”).        Because the

proffer waiver here is also triggered by arguments or

assertions, it is more expansive than what the court in Barrow

described as “an expansive waiver.”      See Barrow, 400 F.3d at 118

(“The waiver’s triggering language unambiguously expresses the

parties’ intent to create an expansive waiver, applying to ‘any

evidence,’ whether offered directly or elicited on cross-

examination.”).

    The question as to whether the defendant has triggered the

proffer waiver could arise during opening statement, during the

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defendant’s cross examination of a witness, and as a result of

the defendant offering evidence, in addition to as a result of

testimony by the defendant.      See Rosemond, 841 F.3d at 109-10.

Also, “proper rebuttal is not limited to direct contradiction.”

Barrow, 400 F.3d at 120.    In Barrow, where the focus of the

discussion was factual assertions, the court observed that

“‘rebuttal’ is hardly limited to evidence that directly

contradicts what it opposes; rather, rebuttal encompasses any

evidence that the trial judge concludes fairly encounters and

casts doubt on the truthfulness of factual assertions advanced,

whether directly or implicitly, by an adversary.”        Id. at 121.

On the other hand, “a defense argument that simply challenged

the sufficiency of government proof on elements such as

knowledge, intent, identity, etc., would not trigger the waiver

here at issue.”    Id. at 119.

    In Barrow, the court also observed that “when confronted

with a government argument that a defense opening or cross-

examination implicitly satisfies the factual assertion

requirement for waiver, a district court may well have to

consider carefully what fact, if any, has actually been implied

to the jury before deciding whether proffer statements fairly

rebut it.”   Id.   The court went on to observe that

    even when a district court is satisfied that a factual
    assertion triggering a Rule 410 waiver has been made,
    whether directly or implicitly, that conclusion does

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      not mandate receipt of the proffer statements in
      evidence. A waiver agreement between the parties does
      not divest a district court of its considerable
      discretion to exclude relevant evidence that may
      inject “unfair prejudice” or “confusion” into the
      jury's resolution of the issues in dispute.”

Id.

      In light of the foregoing, the parties’ respective

positions will have to be clear with respect to precisely what

evidence or argument has been directly or implicitly put before

the jury before the court makes a determination as to whether

proffer statements the government seeks to introduce, first,

fairly rebut that evidence or argument and, second, are

inadmissible under Rule 403.        There is no such clarity at this

time.    Consequently, while conditionally allowing the

introduction of proffer statements may be appropriate in some

cases, the court concludes that it is not appropriate in this

case at this time.

      Also, the government maintains that the defendant will

trigger the proffer waiver if he “disputes intent and

materiality at trial.”       With respect to the second element of

securities fraud, the government must prove that the statement

or conduct related to a fact that would be material to a

reasonable investor in the non-agency RMBS market.           The

defendant intends to dispute this element at trial.




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To prove this element, the government must establish that there

was a substantial likelihood a reasonable investor in the non-

agency RMBS market would view the misstated fact as one that

significantly alters the total mix of information available to

the investor.

    With respect to the third element of securities fraud, the

government is required to prove that the government acted

willfully, knowingly and with intent to defraud.        The defendant

will also contest this element.     To act “knowingly” means to act

voluntarily and deliberately rather than mistakenly or

inadvertently, not because of ignorance, mistake, accident or

carelessness.   To act “willfully” means to act with the intent

to do something the law forbids -- that is, with a bad purpose

to disobey or disregard the law.       To act with “intent to

defraud” means to act with specific intent to deceive.         Because

an essential element of the offense is intent to defraud, the

defendant cannot be convicted if he acted in good faith, i.e. he

held an honest belief that his actions were permissible and not

in furtherance of unlawful activity.

    Given the various components of these two elements of the

offense, it is not apparent to the court how the defendant

disputing materiality and intent will per se trigger the proffer

waiver.



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    The court’s understanding is that it is required to examine

specific testimony, evidence or argument and a specific

statement during the proffer session to see if that particular

statement rebuts that specific testimony, evidence or argument.

    Finally, the court notes that while the government observes

that “any purportedly exculpatory statements consistent with his

arguments and evidence at trial [] are likely inadmissible

hearsay if offered by the defense,” Gov. Motion at 6, the

court’s understanding is that whether any such statements are

hearsay will depend on the purpose for which they are offered.

    It is so ordered.

    Signed this 20th day of April, 2018, at Hartford,

Connecticut.




                                      /s/ AWT__
                                 Alvin W. Thompson
                                 United States District Judge




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